     Case 8:18-cv-00860-DOC-AFM Document 1 Filed 05/16/18 Page 1 of 4 Page ID #:1




1    NICOLA T. HANNA
     United States Attorney
2    THOMAS D. COKER
     Assistant United States Attorney
3    Chief, Tax Division
     VALERIE L. MAKAREWICZ
4    Assistant United States Attorney
     California Bar Number 229637
5          Federal Building, Suite 7211
           300 North Los Angeles Street
6          Los Angeles, California 90012
           Telephone: (213) 894-2729
7          Facsimile: (213) 894-0115
           E-mail: Valerie.makarewicz@usdoj.gov
8    Attorneys for United States of America
9
                         UNITED STATES DISTRICT COURT
10
                       CENTRAL DISTRICT OF CALIFORNIA
11
                                  SOUTHERN DIVISION
12
13
      UNITED STATES OF AMERICA                     Case No. 8:18-cv-00860
14
                                Plaintiff,         COMPLAINT TO REDUCE
15                       v.
                                                   FEDERAL INCOME TAX
16                                                 ASSESSMENTS TO JUDGEMENT
      KREG M. EACRET; DEBRA S.
17    HARRIS,
18                              Defendants.
19
20
21         Plaintiff, United States of America, by its undersigned counsel, for its
22   complaint against the above-named defendants, alleges as follows:
23                               GENERAL ALLEGATIONS
24      1. This is a civil action to reduce to judgment federal income tax assessments
25         against defendants KREG M. EACRET and DEBRA S. HARRIS
26         (hereinafter collectively referred to as “defendants”).
27
28
                                               1
     Case 8:18-cv-00860-DOC-AFM Document 1 Filed 05/16/18 Page 2 of 4 Page ID #:2




1       2. This action is brought at the direction of the Attorney General of the United

2          States and at the request and with the authorization of the Chief Counsel of
3          the Internal Revenue Service (“IRS”), a delegate of the Secretary of the
4          Treasury, pursuant to 26 U.S.C. §§ 7401 and 7403.
5       3. The Court has jurisdiction over this action pursuant to 26 U.S.C. § 7402(a)
6          and 28 U.S.C. §§ 1340 and 1345.
7       4. Venue for the action is within the Central District of California under 28
8          U.S.C. §§ 1391(b) and 1396.
9       5. Defendants are husband and wife, and reside in Orange County, which is
10
           located within this judicial district.
11
                                 COUNT ONE
12          TO REDUCE FEDERAL INCOME TAX ASSESSMENTS TO
13                               JUDGEMENT
          (Against Defendants KREG M. EACRET and DEBRA S. HARRIS)
14
15      6. The United States of America realleges paragraphs 1 through 6, above.
16      7. Defendants failed to timely file their income tax returns for the 2003, 2004,
17         2005, and 2006 tax years with the IRS.
18      8. Pursuant to 26 U.S.C. § 6020(b), the IRS prepared and filed income tax
19         returns for defendant KREG M. EACRET for said years, and made
20         subsequent assessments against him on the dates and in amounts below:
21            a. Tax year 2003, $8,443 on May 26, 2008;
22
              b. Tax year 2004, $141,711 on May 26, 2008;
23
              c. Tax year 2005, $72,839 on August 24, 2009; and
24
              d. Tax year 2006, $85,230 on August 24, 2009.
25
        9. In 2017, defendants filed joint returns for tax years 2003 through 2006 with
26
           the IRS resulting in additional assessments or abatements to the assessments
27
           as delineated in paragraph 7, above.
28
                                                2
     Case 8:18-cv-00860-DOC-AFM Document 1 Filed 05/16/18 Page 3 of 4 Page ID #:3




1       10. As a result of the joint tax returns by defendants for tax years 2003 through

2          2006, defendant DEBRA S. HARRIS was also assessed the tax liabilities
3          reported on the joint tax returns.
4       11. Defendants are jointly and severally liable for the following amounts of
5          assessed tax, penalty, and interest for the 2003 through 2006 tax years, plus
6          accrued penalties and interest provided by law, computed through May 10,
7          2018, as follows:
8             a. Tax year 2003, $18,077.18;
9             b. Tax year 2004, $97,565.98;
10
              c. Tax year 2005, $31,298.19; and
11
              d. Tax year 2006, $53,051.64.
12
        12. Despite timely notice and demand for payment of the assessments described
13
           above, defendants have neglected, failed, or refused to pay said assessments,
14
           and there remains due and owing, jointly and severally from defendants on
15
           the assessments, as of May 10, 2018, the sum of $199,992.99, plus accrued
16
           interest, penalties, collection costs, and other statutory additions as provided
17
18         by law, including all lien fees and collection costs incurred before or after

19         the filing of this Complaint, minus any payments, credits or reversals made
20         after May 10, 2018.
21   WHEREFORE, plaintiff United States of America prays that the Court:
22      A. Enter judgment in favor of the United States of America and jointly and
23         severally against defendants for unpaid income tax for taxable years 2003
24         through 2006, in the amount of $199,992.99 plus interest, penalties, and
25         other statutory additions as provided by law, accruing after May 10, 2018,
26         including all lien fees and collection costs incurred before or after the filing
27
28
                                                3
     Case 8:18-cv-00860-DOC-AFM Document 1 Filed 05/16/18 Page 4 of 4 Page ID #:4




1          of this Complaint, in accordance with the applicable provisions of the
2          Internal Revenue Code, Title 26, United States Code.
3       B. Award plaintiff United States of America its costs and such other further
4          relief as is just and proper.
5
6                                          Respectfully submitted,

7                                          NICOLE T. HANNA
8                                          United States Attorney
                                           THOMAS D. COKER
9                                          Assistant United States Attorney
10                                         Chief, Tax Division
11
12   DATED:       5/16/2018                  /s/ Valerie L. Makarewicz
13                                         VALERIE L. MAKAREWICZ
                                           Assistant United States Attorney
14
                                           Attorneys for United States of America
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                             4
